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                                                             U.S. Department of Justice
                                                             Civil Division




                                                                   March 28, 2025

  By ECF
  Honorable Michael E. Farbiarz
  United States District Judge
  U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07101

          Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
                  The Government’s Responses to the Court’s Questions

  Dear Judge Farbiarz:

           The Government believes that Padilla precludes exercising habeas jurisdiction over “[the
  Secretary of Homeland Security] or some other remote supervisory official,” because she is not the
  warden of the facility where the prisoner is being held, and Endo would only allow the court to direct
  a “respondent within its jurisdiction who has legal authority to effectuate the prisoner’s release” –
  such as a supervisory official – “when the Government moves a habeas petitioner after she properly
  files a petition naming her immediate custodian,” Rumsfeld v. Padilla, 542 U.S. 426, 434, 441 (2004); that
  being said, the Government agrees that the Secretary of Homeland Security is a supervisory official
  who is within the Court’s jurisdiction. As Acting Field Office Director in the New York City Field
  Office of Enforcement and Removal Operations, William Joyce’s area of responsibility does not cover
  New Jersey. Finally, Mr. Khalil is currently detained in a facility that is owned by LaSalle County and
  run by The GEO Group, so the proper respondent would be Warden Shad Rice.


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                                    Respectfully submitted,

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